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                                            No. 20-1903


           In the United States Court of Appeals
                   for the First Circuit
                                   ____________________

                             UNITED STATES OF AMERICA,

                                                     Plaintiff-Appellee,

                                                v.

                                 WILLIE RICHARD MINOR,

                                               Defendant-Appellant.
                                   ____________________

                 ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
                DISTRICT OF MAINE, D. CT. NO. 17-CR-21 (HON. D. BROCK HORNBY)
                                   ____________________

        PETITION OF THE UNITED STATES FOR REHEARING EN BANC
                          ____________________

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                  INTRODUCTION AND RULE 35(B)(1) STATEMENT

            A divided panel of this Court vacated Willie Richard Minor’s conviction for

      unlawful firearm possession by a domestic-violence misdemeanant—notwithstanding

      the jury’s finding that Minor knew every relevant fact that qualified his prior conviction

      as a misdemeanor crime of domestic violence—because, in the panel majority’s view,

      the government was also required to prove that Minor had analyzed and grasped the

      full “legal import” of those facts as they relate to the federal firearms prohibition. The

      panel’s decision misreads the Supreme Court’s holding in Rehaif v. United States, 139

      S. Ct. 2191 (2019), and misapplies that Court’s other scienter precedents; contravenes

      this Court’s own post-Rehaif caselaw; creates an acknowledged circuit conflict with

      respect to prosecutions under 18 U.S.C. § 922(g)(9) and a broader, unacknowledged

      conflict as to unlawful-firearm-possession prosecutions more generally; and erects

      substantial and unwarranted obstacles in future cases. Left intact, the panel’s departure

      from the consensus view of other courts will, in the words of the dissenting judge,

      “have the unfortunate consequence of impairing efforts to prevent instances of

      domestic violence within the jurisdictions which comprise the First Circuit.” Op.36.1

      The panel’s outlying treatment of Section 922(g)(9) thus “involves a question of

      exceptional importance” warranting rehearing en banc.



            1
              Op. = slip opinion; Add. = addendum to Minor’s brief; App. = Minor’s
      appendix; Supp.App. = government’s supplemental appendix; DE = district-court
      docket entry; PSR = presentence investigation report.
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                                 STATEMENT OF THE ISSUE

             Whether, in a prosecution for unlawful firearm possession by a domestic-

      violence misdemeanant, the jury must find not only that the defendant knew every

      relevant fact that qualified his prior conviction as a misdemeanor crime of domestic

      violence, but also that he had ascertained the full “legal import” of those facts as they

      relate to the federal firearms prohibition.

                                          BACKGROUND

             A.     The Federal Firearms Prohibition

             Under 18 U.S.C. § 922(g), it is “unlawful for any person” who falls within one of

      nine enumerated categories to possess “any firearm or ammunition.” Section 924(a)(2)

      prescribes the penalties applicable to “[w]hoever knowingly violates” Section 922(g). In

      Rehaif, the Supreme Court held that “the Government must prove that a defendant

      knew both that he engaged in the relevant conduct (that he possessed a firearm) and

      also that he fell within the relevant status (that he was a felon, an alien unlawfully in this

      country, or the like).” 139 S. Ct. at 2194.

             Section 922(g)(9) prohibits gun possession by anyone “who has been convicted

      in any court of a misdemeanor crime of domestic violence.” Subject to exceptions not

      relevant here, Section 921(a)(33) defines “misdemeanor crime of domestic violence” as

             an offense that—(i) is a misdemeanor under Federal, State, or Tribal law;
             and (ii) has, as an element, the use or attempted use of physical force, or
             the threatened use of a deadly weapon, committed by a current or former
             spouse [or other specified domestic relation].



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      “[T]he domestic relationship . . . need not be a defining element of the predicate

      offense.” United States v. Hayes, 555 U.S. 415, 418 (2009). Accordingly, a misdemeanor

      crime of domestic violence encompasses any prior conviction that (1) was subject to

      misdemeanor penalties; (2) required the use or attempted use of physical force or

      threatened use of a deadly weapon; and (3) involved a victim who had a domestic

      relationship with the defendant.

            B.     Statement of the Facts

            As Judge Lynch noted, “Minor’s criminal history reflects several instances of

      domestic abuse and a propensity toward violence”; indeed, he “has been arrested

      and/or formally charged eight times with conduct that appears to involve domestic

      violence or assault.” Op.37 & n.8; PSR ¶¶ 36-46. Two such episodes are relevant here.

            1.     In August 2009, Minor violently assaulted his then-wife, Betty Minor.

      PSR ¶ 37. According to the police report, Minor became enraged after Betty refused

      his demand for sex. Ibid. Minor struck Betty, pursued her through their home, shoved

      her into a metal shelf, and threw her to the floor. Ibid. Betty reported the attack in

      order to obtain a protection order. Ibid.

            Minor was charged with “domestic violence assault,” which involved inflicting

      “bodily injury or offensive physical contact” on his spouse. App.69. Minor pleaded

      down to a charge of simple assault, App.78, which removed the element that “the

      assault was committed against a family or a household member as defined in the

      statute,” Supp.App.130, but retained the same “named victim” (Betty), Supp.App.132.

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            2.     In November 2016, police received a report that Minor had “subjected to

      repeated domestic abuse and sex trafficking acts” his then-girlfriend C.K. PSR ¶¶ 8-9.

      C.K. recounted how Minor had “forced her to have sexual intercourse against her will,”

      “ma[de] threats about killing her,” and “physically abused her ‘daily,’” including by

      hitting her with a sledgehammer and striking her with a pistol. PSR ¶¶ 9-11. During a

      search of Minor’s residence, police recovered a loaded .38-caliber pistol. PSR ¶ 13.

            C.     Procedural History

            1.     In February 2017, a grand jury indicted Minor on one count of possessing

      a firearm following a conviction for a misdemeanor crime of domestic violence. DE.1.

      Following a jury trial, Minor was convicted and sentenced to 57 months in prison.

      DE.118:1-3. Rehaif issued while Minor’s appeal was pending, and the parties thereafter

      agreed to vacatur and remand for a new trial. DE.144.

            2.     On remand, the grand jury returned a superseding indictment alleging that

      Minor had been convicted in June 2010 of “Assault, Class D, against B.M., his wife”—

      and that, at the time he possessed a firearm in November 2016, Minor “knew that he

      had been previously convicted of this misdemeanor crime of domestic violence.”

      App.25. At the conclusion of Minor’s trial, the court instructed the jury that the

      government must have proven

            that Willie Richard Minor knew that he had been convicted of [the] crime
            [referenced in the indictment], that he knew the conviction subjected him
            to incarceration of up to 364 days, that he knew the conviction was for
            causing bodily injury or offensive physical contact to another person, and
            that he knew the victim of the crime was his spouse at the time.

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      Supp.App.238. Minor was convicted and sentenced to time served. DE.260:1-2.

             3.     Last month, this Court vacated Minor’s conviction. The panel rejected

      Minor’s contention that Rehaif requires the government “to prove his subjective

      knowledge that he was violating the law,” Op.21 (cleaned up), and upheld the

      sufficiency of the trial evidence, Op.25. But the panel majority concluded that the

      district court erred by requiring of the jury only “a finding that a defendant is aware of

      the component parts of his prohibited status” rather than a separate finding “that he is

      aware of the implication of the sum of those components.” Op.13-14. Reading Rehaif

      to require not only that the defendant “knew all the facts that rendered” him within a

      prohibited category but also “that he knew the legal import of those facts,” the majority

      found Minor’s “reliance on Rehaif . . . persuasive” and granted relief. Op.14.

             Judge Lynch dissented. She criticized the panel’s “erroneous decision” for

      “misread[ing] Rehaif” and “other binding Supreme Court cases,” “creat[ing] a circuit

      split,” and “impairing efforts to prevent instances of domestic violence.” Op.36. In

      her view, the district court correctly “instructed the jury that it must find . . . that Minor

      knew all of the features necessary to render his prior Maine conviction a domestic

      violence misdemeanor under section 922(g)(9).” Op.38. The panel majority, by

      contrast, was “clearly wrong that Rehaif . . . requires the defendant to have . . . in-depth

      legal knowledge to be convicted under section 922(g)(9)”—an error that “will create an

      unfortunate loophole in efforts to protect victims of domestic violence.” Ibid.



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                                            ARGUMENT

              With respect, the panel majority misapprehended Supreme Court precedent,

       misapplied this Court’s caselaw, misprized the contrary authority of its sister circuits,

       and, accordingly, misconstrued the knowledge required under Section 922(g)(9).

       Review and correction by the en banc Court are warranted.

       I.     The Panel Contravened Supreme Court, First Circuit, and Out-of-Circuit
              Precedent by Misconstruing Section 922(g)(9)’s Scienter Requirement.

              A “panel decision[’s] conflict[]” with any one of “a decision of the United States

       Supreme Court,” a decision “of the court to which the petition is addressed,” or

       “authoritative decisions of other United States Courts of Appeals” can justify rehearing

       en banc. Fed. R. App. P. 35. This decision checks all three boxes—and, in so doing,

       imposes an erroneous and unworkable approach on an “exceptional[ly] importan[t]”

       law. Ibid.

              A.      The Panel’s Decision Is Inconsistent with the Supreme Court’s
                      Scienter Precedents, Including Rehaif.

              The panel deemed the jury instructions deficient because they required only a

       determination whether Minor “knew all the facts” that brought him within the statutory

       category but not “that he knew the legal import of those facts.” Op.13-14. But the

       Supreme Court’s decisions construing the knowledge required to trigger criminal

       liability have drawn a clear line between a defendant’s knowledge of the facts that make

       his conduct criminal (which is required) and knowledge that those facts bring him within

       the ambit of a criminal statute (which is not). See Elonis v. United States, 575 U.S. 723,


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       735 (2015) (“[A] defendant generally must ‘know the facts that make his conduct fit the

       definition of the offense,’” but need “not know that those facts give rise to a crime.”).

                    1.     Defendants Need Not Be Aware of a Statutory Category Itself
                           but Only the Characteristics that Bring Their Conduct Within
                           the Statutory Category.

             a.     Two decisions place particular emphasis on distinguishing the requisite

       knowledge of relevant characteristics from comprehension of their legal import.

             In Liparota v. United States, 471 U.S. 419, 420 (1985), the Supreme Court analyzed

       a statute prescribing criminal penalties for someone who “knowingly uses, transfers,

       acquires, alters, or possesses” food stamps “in any manner not authorized by”

       applicable regulations. The Court read the statute to require proof that the defendant

       knew that his conduct “was unauthorized,” id. at 434, but made clear that the

       government need not prove the defendant understood that this lack of authorization

       brought him within the ambit of a criminal statute, id. at 425 n.9. To confirm that

       distinction, the Court emphasized that “the Government need not show that [the

       defendant] had knowledge of specific regulations,” nor “introduce any extraordinary

       evidence that would conclusively demonstrate [his] state of mind.” Id. at 434.

             Similarly, in Staples v. United States, 511 U.S. 600, 602 (1994), the Court concluded

       that, to convict for possession of an unregistered machinegun, the government must

       prove only that the defendant “knew the weapon he possessed had the characteristics

       that brought it within the statutory definition of a machinegun”—not that he had

       compared his weapon to (or even was aware of) that statutory definition. “In other

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       words,” Staples held that “the defendant ‘must know the facts that make his conduct

       illegal,’” but “d[oes] not need to know the statutory definition of a machinegun to be

       convicted.” United States v. Johnson, 981 F.3d 1171, 1182 (11th Cir. 2020).

              Likewise here, Minor “must have known the facts that made [his] crime qualify

       as a misdemeanor crime of domestic violence,” but need not have known that either

       Congress or “the Supreme Court had defined the term and what that definition was,”

       nor the legal consequences that would flow from that conviction. Johnson, 981 F.3d at

       1182-1183. Thus, by instructing the jury to determine Minor’s knowledge of the

       relevant characteristics of his prior conviction, the district court delineated the scienter

       element as the Supreme Court has long defined it.

              b.     The panel majority acknowledged the Supreme Court’s decisions in Staples

       and Liparota but mistakenly disregarded their teaching. Op.14-16.

              The majority began by implying that these precedents are inapposite because, in

       each, “the Court read mens rea requirements into criminal statutes that (unlike section

       924(a)(2)) otherwise would not have included any.” Op.14. Not so. In a close parallel

       to Section 924(a)(2), the statute at issue in Liparota attached the adverb “knowingly” to

       the means of committing the offense and presented the interpretive question “how far

       down the sentence the term ‘knowingly’ travels.” 471 U.S. at 434 (White, J., dissenting);

       cf. Rehaif, 139 S. Ct. at 2194 (“The question here concerns the scope of the word

       ‘knowingly.’”). And even where a statute lacks such an explicit mens rea, the Supreme



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       Court has never suggested that the rigor of showing scienter depends on whether that

       element is “specif[ied] . . . in the statutory text” or merely “presum[ed].” Id. at 2195.

              The panel majority’s case-specific distinctions fare no better. Its attempt to cabin

       the holding of Staples—on the basis that the defendant there “did not argue that the

       government ought to have been required to prove his knowledge . . . that his gun in

       fact qualified as a machinegun under the Act,” Op.15—cannot be squared with this

       Court’s caselaw, which has consistently taken Staples’s explication of the requisite mens

       rea at face value. See, e.g., United States v. Tanco-Baez, 942 F.3d 7, 26 (1st Cir. 2019) (“With

       regard to the knowledge requirement, the government must prove that ‘the defendant

       had knowledge of the characteristics that brought the gun within the statutory

       definition, and not that [he] had knowledge that the gun was in fact considered a

       machine gun under law.’”). And turning to Liparota, the majority quoted (Op.15-16)

       Rehaif’s unremarkable description of that case as extending scienter to “whether the

       food stamps were used in a ‘manner not authorized by the statute or regulations,’” 139

       S. Ct. at 2198—but also acknowledged that the Court in Elonis characterized that

       extension as simply “requir[ing] knowledge of the facts that made the use of the food

       stamps unauthorized,” 575 U.S. at 736 (emphasis added). The panel identified no

       instance in which the Supreme Court has held that a defendant’s awareness of every

       relevant characteristic bringing him within a statutory category is insufficient absent his

       separate subjective conclusion that he fell within the ambit of that statutory category.



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                    2.     Rehaif Did Not Upend Supreme Court Precedent to Suddenly
                           Require Technical Statutory Knowledge.

             Nothing in Rehaif suggests that the Court departed from its longstanding scienter

       precedents to adopt an approach that “requires technical knowledge of the law.”

       Johnson, 981 F.3d at 1182. To the contrary, the Court expressed “doubt that the

       obligation to prove a defendant’s knowledge of his status” would be particularly

       “burdensome.” Rehaif, 139 S. Ct. at 2198. Certainly, the Court gave no indication that

       it was confining liability under Section 922(g)(9) to only a hypothetical defendant with

       the perspicacity to analyze the “misdemeanor crime of domestic violence” provision

       and ascertain that his offense fell within that statutory ambit. Cf. Johnson, 981 F.3d at

       1182 (“The Court did not conclude that Congress expected a person to have performed

       a Descamps analysis on his misdemeanor crime of conviction[.]”). That approach would

       impose an “unduly heavy burden on the Government” in enforcing this law, Liparota,

       471 U.S. at 433-434—a burden of the kind the Court disavowed.

             To be sure, Rehaif made clear that a defendant’s mistake as to a “‘collateral’

       question of law” could negate scienter where that legal matter constitutes a necessary

       aspect of his status. 139 S. Ct. at 2198. Thus, had Minor demonstrated his ignorance

       or mistake as to some legal characteristic of his conviction necessary to bring it within

       the scope of “misdemeanor crime[s] of domestic violence”—e.g., that the offense

       required the use or attempted use of physical force or threatened use of a deadly

       weapon—he could have negated the knowledge-of-status element by reference to a


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       collateral legal mistake. Such a misapprehension would be consistent with the type of

       collateral mistakes—e.g., “a person who was convicted of a prior crime but sentenced

       only to probation, who does not know that the crime is ‘punishable by imprisonment

       for a term exceeding one year’”—that Rehaif identified as precluding liability. Ibid. But

       a defendant’s accurate knowledge as to every relevant (factual and legal) characteristic

       of his prior conviction—paired only with a misapprehension as to the definition of

       “misdemeanor crime of domestic violence,” as used in Section 922(g)(9)—is not a

       collateral mistake; it is, if anything, a mistake as to the scope of the statutory prohibition

       itself, which falls within the traditional “maxim that ‘ignorance of the law’ (or a ‘mistake

       of law’) is no excuse.” Ibid.

              B.     The Panel’s Decision Cannot Be Reconciled with This Court’s
                     Holding that a Defendant Need Not Know of the Federal Firearms
                     Prohibition in Order to Violate It.

              The panel majority correctly noted that United States v. Austin, 991 F.3d 51, 59

       (1st Cir. 2021), forecloses Minor’s argument that Rehaif “obligate[s] the government to

       prove his subjective knowledge that he was violating the law.” Op.21 (cleaned up). But

       the holding here negates that rule for prosecutions under Section 922(g)(9).

              Unlike felons, unauthorized immigrants, etc., those restricted under Section

       922(g)(9)—domestic-violence misdemeanants—comprise a category that has no legal

       or colloquial identity independent of the federal prohibition. The phrase “misdemeanor

       crime of domestic violence” is defined solely for purposes of that prohibition, see 18

       U.S.C. § 921(a)(33)(A), and used solely in the provisions criminalizing firearm

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       possession by (or sales to) that group, id. §§ 922(d)(9), 922(g)(9). See Op.47 (Lynch, J.,

       dissenting) (“Unlike the legality of an alien’s presence in the United States, a defendant’s

       status as a domestic violence misdemeanant under section 922(g)(9) is tied specifically

       to the unlawful possession statute. . . . The status (as opposed to its elements) has no

       legal import other than to prohibit certain individuals from possessing firearms.”).

              It thus “cannot reasonably be said in a section 922(g)(9) prosecution that a

       defendant’s status as a domestic violence misdemeanant is itself ‘collateral’ to the

       offense.” Op.47. A defendant, much like Minor, who had perfect knowledge of every

       salient detail of his own criminal record—but who had never consulted the federal

       firearms-prohibition statute—would almost assuredly escape liability under the panel’s

       decision because, while he “knew ‘the facts’ that made his past offense a ‘misdemeanor

       crime of domestic violence,’” he did not realize “that those facts added up to a particular

       result.” Op.16. In short, the panel majority recited this Court’s holding that a defendant

       need not have any knowledge of the federal statute prohibiting his conduct—then

       required recognition that a defendant could obtain only by consulting that statute.

              C.     The Panel’s Decision Conflicts with the Authoritative Holdings of
                     Multiple Other Circuits.

              The panel majority acknowledged (Op.16) that its decision directly conflicts with

       that of another circuit. In fact, the conflict is broader, and this Court stands alone.

              1.     The Eleventh Circuit has held in published authority that, in a prosecution

       under Section 922(g)(9), the defendant “must have known the facts that made [his prior]


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       crime qualify as a misdemeanor crime of domestic violence.” Johnson, 981 F.3d at 1182.

       The court determined that, pursuant to the Supreme Court’s scienter caselaw, a

       statutory knowledge requirement means that “the defendant ‘must know the facts that

       make his conduct illegal’” but not that he was aware of “the statutory definition”

       implicated by those facts or of the prohibition itself. Ibid. “Applying th[ose] principles”

       to Section 922(g)(9), the court required the defendant to have known that “(1) he had

       been convicted of a misdemeanor under state law; (2) to be convicted of that

       misdemeanor, he must have knowingly or recklessly engaged in at least ‘the slightest

       offensive touching’; and (3) the victim was his current or former spouse at the time he

       committed the crime.” Id. at 1182-1183 (citations omitted).

              2.     The Ninth Circuit has applied the same reasoning to Section 922(g)(5)(B).

       In United States v. Gear, 9 F.4th 1040, 1046 (9th Cir. 2021), the court explained that the

       government may prove that a defendant “knew his particular visa was ‘nonimmigrant’”

       by “showing he knew his visa possessed the components that constitute a

       nonimmigrant visa.” Like the Eleventh Circuit, the Ninth Circuit deemed it “well

       established” by the Supreme Court that “the government may prove a defendant’s

       knowledge of a given statutory designation by proving his knowledge of the ‘offending

       characteristics’ that undergird that designation.” Ibid.

              3.     No other circuit has adopted the panel majority’s view that a defendant

       who knows every relevant characteristic lacks the requisite knowledge unless he has

       ascertained the legal import of those characteristics as they relate to the federal firearms

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       prohibition. Given that preexisting uniformity, the Supreme Court denied certiorari in

       both Johnson, 142 S. Ct. 567 (2021), and Gear, 142 S. Ct. 1229 (2022).

       II.   The Panel’s Decision Will Frustrate Enforcement of the Federal Firearms
             Prohibition Against Violent Domestic Abusers.

             The panel’s treatment of Section 922(g)(9) “involves a question of exceptional

       importance,” Fed. R. App. P. 35(a)(2), because, as Judge Lynch noted, it “create[s] an

       unfortunate loophole in efforts to protect victims of domestic violence,” Op.38. Two

       aspects of the decision bring into stark relief the obstacles that will now frustrate

       enforcement against domestic-violence misdemeanants in this Circuit.

             A.     The Majority’s Crediting of Minor’s Inapposite Advice-of-Counsel
                    Defense Confirms Its Misapprehension of the Relevant Knowledge.

             The panel majority deemed the putative instructional error prejudicial based

       principally on “alleged information conveyed to Minor,” Op.28, which consisted of

       hearsay relayed by Minor’s state-court defense counsel that the state prosecutor had

       told Minor “that he would still be able to possess a firearm even under federal law,”

       Op.32 n.4. But see Supp.App.25 (prosecutor disputes this claim). That reasoning raises

       two glaring problems. First, an advice-of-counsel defense along these lines will be easy

       to assert and impossible to counter, as the government will scarcely be able to elicit

       incriminating testimony from a defendant’s former attorney about legal advice provided

       during a prior representation. Second, crediting this particular representation—not that

       Minor’s offense lacked some critical element; not even that it failed to qualify as a

       “misdemeanor crime of domestic violence”; but instead simply that Minor “would still

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       be able to possess a firearm”—reinforces the panel majority’s conflation of the

       defendant’s (necessary) knowledge of the characteristics of his conviction with his

       (unnecessary) knowledge that his possession was prohibited.

              B.     The Panel’s Decision Offered No Guidance on Appropriate Jury
                     Instructions.

              Finally, the panel’s decision leaves district courts in an untenable position when

       delivering jury instructions. As Judge Lynch noted, had the district court “instructed

       only that the jury must find Minor knew he was a domestic violence misdemeanant, the

       jurors likely would not have understood the instructions.” Op.44 n.11. But the panel

       majority also faulted “the district court’s decision to convert legal jargon into a digestible

       definition for the jurors,” ibid., because doing so substituted Minor’s “aware[ness] of

       the component parts of his prohibited status” in place of his “aware[ness] of the

       implication of the sum of those components,” Op.13-14. At the same time, under

       Austin, the instructions cannot require a finding that the defendant knew he was subject

       to Section 922(g)(9). Thus, a district judge must somehow (1) ask the jury to find that

       the defendant knew he had been convicted of a misdemeanor crime of domestic

       violence—a term indecipherable to lay jurors; (2) enumerate the components of that

       term in a way that avoids asking the jury to find that the defendant was aware of the

       parts rather than the whole; and (3) also avoid instructing the jury to find that the

       defendant was aware of the statutory definition that pulls those parts together into a

       coherent whole. That task strains description, let alone execution.


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                                       CONCLUSION

            For the foregoing reasons, this Court should grant rehearing en banc.

                                               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

             I certify that on May 23, 2022, I caused the foregoing petition to be served upon

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